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                               UNITED STATES DISTRICT COURT
                             SOUTHERN DISTRICT OF CALIFORNIA

UNITED STATES OF AMERICA,
                                                           Case No. 16CR1849-BAS

                                       Plaintiff,
                       vs.
                                                           JUDGMENT OF DISMISSAL
DANIEL ALBERTO HERNANDEZ (2),

                                     Defendant.



IT APPEARING that the defendant is now entitled to be discharged for the reason that:

       an indictment has been filed in another case against the defendant and the Court has
       granted the motion of the Government for dismissal of this case, without prejudice; or

 o     the Court has dismissed the case for unnecessary delay; or

 ~     the Court has granted the motion of the Government for dismissal, without prejudice; or

 o     the Court has granted the motion of the defendant for a judgment of acquittal; or

 D     a jury has been waived, and the Court has found the defendant not guilty; or

 o     the jury has returned its verdict, finding the defendant not guilty;

 IZI   of the offense( s) as charged in the Information:
        Importation of Methamphetamine; Aiding and Abetting AND Importation of Cocaine;
       _Aiding and Abetting (Felony)
